Case 22-10609-amc            Doc 46   Filed 04/06/22 Entered 04/06/22 13:01:54                  Desc Main
                                      Document     Page 1 of 2



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                           :       CHAPTER 11
                                                 :
SCUNGIO BORST & ASSOCIATES, LLC                  :       BANKRUPTCY NO. 22-10609(AMC)
                                                 :
                                   Debtor        :
                                                 :

                                                ORDER

         Upon consideration of the Motion of Debtor for Entry of an Order Authorizing the

Rejection of Executory Contracts Pursuant to 11 U.S.C. § 365 and Fed. R. Bankr. P. 6006 (the

“Motion”)1, and after notice to parties in interest and a hearing; it is hereby ORDERED that:

         1.      The Motion is GRANTED as modified herein.

         2.      The following Contracts are hereby REJECTED effective as of the Petition Date:

         COUNTERPARTY               TYPE OF EXECUTORY         PROJECT/DESCRIPTION              EXHIBIT
                                        CONTRACT                                                 TO
                                                                                               MOTION
 1   East Third Media, LLC          Construction Management   Wright               Partners       A
                                    Contract                  Headquarters
 2   KLS Logistics, Inc.            Construction Management   PLCB            Warehouse          B
                                    Contract                  Improvements – Phase 1
 3   KLS Logistics, Inc.            Construction Management   PLCB            Warehouse          C
                                    Contract                  Improvements – Phase 2
 4   Nerd Street Gamers             Construction Management   Localhost – Philadelphia, PA       D
     Localhost Philadelphia, LLC    Contract                  & NSG HQ
 5   OASG Hazlet, LLC               Construction Management   Bubbakoos Burritos                  E
                                    Contract
 6   OASG Hazlet, LLC               Construction Management   Panera Bread LL Work                F
                                    Contract
 7   Shopping Center Associates     Construction Management   Menlo         Park       Mall      H
                                    Contract                  (Redevelopment              of
                                                              Macaroni/ Grill for True
                                                              Food Kitchen and Shake
                                                              Shack)
 8   TKO 6 Corp. a/k/a TKO          License Agreement         Use of office space located at      I
     Suites                                                   1521 West Concord Pike,
                                                              Suite 301, Wilmington, DE
                                                              19803
Case 22-10609-amc              Doc 46      Filed 04/06/22 Entered 04/06/22 13:01:54                      Desc Main
                                           Document     Page 2 of 2



           3.       The hearing on the relief requested as to the following Contract shall be held on

April 27, 2022, at 12:30 p.m. in Courtroom No. 4, United States Bankruptcy Court, 900

Market Street, Philadelphia, PA 19107:

            COUNTERPARTY                TYPE OF EXECUTORY             PROJECT/DESCRIPTION              EXHIBIT
                                            CONTRACT                                                     TO
                                                                                                       MOTION
    1   Scope FLP Pennington SM,        Construction Management       Pennington Medical                  G
        LLC                             Contract

           4.       This Court shall retain jurisdiction to interpret and enforce the terms of this Order.



                                                       BY THE COURT:


Dated: _____________                                   ____________________________________
                                                       ASHELY M. CHAN,
                                                       UNITED STATES BANKRUPTCY JUDGE




1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
